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8
                       UNITED STATES DISTRICT COURT
9
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
     BRIAN KANG, an individual, on behalf Case No.:
11
     of himself and SKYBLOCK, LLC and
12   MID-WILSHIRE CONSULTING,              COMPLAINT
     LLC; PRASAD HURRA, an individual;
13
     DAVID KIM, an individual, on behalf
14   of himself and BLUE BLOCK GROUP;      JURY TRIAL DEMANDED
     ARTEMIO VERDUZO, an individual;
15
     DAVID KWON, an individual; and
16   YOUNG JAE KWON, an individual,
17
                 Plaintiffs,
18        v.
19
     HYBRID TRADE LIMITED, an
20   unknown business entity; ASIA
     DIGITAL ASSET EXCHANGE, an
21
     unknown business entity; ALLYSIAN
22   SCIENCES, an unknown business
     entity; APOLO OHNO, an individual;
23
     ROD JAO, an individual; EUGENIO
24   PUGLIESE, an individual; HENRY
     LIU, an individual, and DOES 1 through
25
     10, inclusive,
26
                 Defendants.
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1          Plaintiffs Brian Kang (“Kang”), on behalf of himself, Skyblock, LLC
2    (“Skyblock”) and Mid-Wilshire Consulting, LLC (“MWC”), Prasad Hurra
3    (“Hurra”), David Kim (“Kim”), on behalf of himself and Blue Block Group
4    (“BBG”), Artemio Verduzo (“Verduzo”), David Kwon (“D. Kwon”) and Young
5    Jae Kwon (“J. Kwon”), together with their principals, agents, predecessors,
6    successors, and assigns (collectively, “Plaintiffs”), hereby allege as follows against
7    Defendants Hybrid Trade Limited (“Hybrid”),          Asia Digital Asset Exchange
8    (“ADAX”) Allysian Sciences (“Allysian”), Apolo Ohno (“Ohno”), Rod Jao (“Jao”),
9    Eugenio Pugliese (“Pugliese”), Henry Liu (“Liu”), and Does 1-10 (collectively,
10   “Defendants”).
11                                       SUMMARY
12      1. Between approximately January 2018 and June 6, 2018, Defendants offered
13   and sold digital tokens (the “Hybrid Token”), raising approximately $50 million
14   from investors based around the world, including within the United States.
15   However, Defendants’ offer and sale of Hybrid Tokens was neither registered with
16   the United States Securities and Exchange Commission (the “SEC”) nor qualified
17   for any exemption from registration with the SEC, thereby depriving investors of
18   the benefit of the disclosures required by the federal securities laws. Moreover, to
19   date, Defendants have yet to satisfy any of their commitments to investors.
20   Defendants squandered and/or misappropriated, and purported to lose by theft, all
21   or nearly all of the approximately $50 million raised through their offer and sale of
22   Hybrid Tokens. Defendants’ offer and sale of Hybrid Tokens was, in actuality, a
23   mere vessel for Defendants’ personal enrichment. This is precisely the sort of
24   scenario the federal securities laws were enacted to prevent.
25      2. Congress enacted the Securities Act of 1933 (the “Securities Act”) and the
26   Securities Exchange Act of 1934 (the “Exchange Act”) to regulate the offer and sale
27   of securities. In contrast to commerce, which often operates under the principle of
28   caveat emptor, Congress enacted a regime of full and fair disclosure, requiring those


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1    who offer and sell securities to the investing public to provide sufficient, accurate
2    information to allow investors to make informed decisions before they invest. Such
3    disclosure is ordinarily provided in a “registration statement,” which provides
4    public investors with financial and managerial information about the issuer of the
5    securities, details about the terms of the securities offering, the proposed use of
6    investors proceeds, and an analysis of the risks and material trends that would affect
7    the enterprise.
8       3. Section 5(a) of the Securities Act, 15 U.S.C. § 77e(a), provides that, unless a
9    registration statement is in effect as to a security or an exemption from registration
10   applies, it is unlawful for any person, directly or indirectly, to sell securities in
11   interstate commerce. Section 5(c) of the Securities Act, 15 U.S.C. § 77e(c),
12   provides a similar prohibition against offers to sell or offers to buy, unless a
13   registration statement has been filed or an exemption from registration applies.
14   Thus, Sections 5(a) and 5(c) of the Securities Act prohibit the offer or sale of
15   unregistered securities in interstate commerce, absent an exemption.
16      4. Sections 11 and 12(a)(2) of the Securities Act, 15 U.S.C. § 77k & 77l(a)(2),
17   respectively, prohibit material misstatements and omissions in prospectuses and
18   registration statements, respectively.     More generally, Section 17(a) of the
19   Securities Act prohibits material misstatements and omission in connection with the
20   sale of securities. Section 10(b) of the Securities Act and SEC Rule 10b-5, 17
21   C.F.R. 240.10b-5, provide purchasers of securities a private right of action against
22   all persons and entities who use deceptive devices in connection with the offer and
23   sale of securities.
24      5. The definition of “security” includes a wide range of investment vehicles,
25   including stocks, bonds, and “investment contracts.” Investment contracts are
26   transactions where an individual invests money in a common enterprise and
27   reasonably expects profits to be derived from the entrepreneurial or managerial
28   efforts of others. In a variety of circumstances, courts have found that investment


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1    vehicles other than stocks and bonds constitute investment contracts, including
2    interests in orange groves, animal breeding programs, railroads, airplanes, mobile
3    phones, and enterprises existing only on the Internet. As the Supreme Court of the
4    United States has noted, Congress defined security broadly to embody a “flexible
5    rather than a static principle, one that is capable of adaptation to meet the countless
6    and variable scheme devised by those who seek the use of the money of others on
7    the promise of “profits.”
8       6. The SEC has stated that digital tokens, such as Hybrid Tokens, often
9    constitute securities. See Investor Bulletin: Initial Coin Offerings, U.S. Securities
10   and Exchange Commission (Jul. 25, 2017), https://www.sec.gov/oiea/investor-
11   alerts-and-bulletins/ib_coinofferings (“[I]n certain cases, the tokens or coins will be
12   securities and may not be lawfully sold without registration with the SEC or
13   pursuant to an exemption from registration[.]”). According to the SEC, “issuers of
14   distributed ledger or blockchain technology-based securities must register offers
15   and sales of such securities unless a valid exemption applies.” Press Release: SEC
16   Issues Investigative Report Concluding DAO Tokens, a Digital Asset, Were
17   Securities (Jul. 25, 2017), https://www.sec.gov/new/press-release/2017-131.
18      7. In several speeches, the SEC’s leadership has reinforced this view. For
19   example, in a November 8, 2017, speech entitled Governance and Transparency at
20   the Commission and in Our Markets, Jay Clayton, then-Chairman of the SEC,
21   stated: “I have yet to see an [Initial Coin Offering (“ICO”)] that doesn’t have a
22   sufficient number of hallmarks of a security.” A few months later, on January 22,
23   2018, then-Chairman Clayton cautioned those involved in the ICO process, stating:
24   “My first message is simple and a bit stern. Market professionals, especially
25   gatekeepers, need to act responsibly and hold themselves to high standards. To be
26   blunt, from what I have seen recently, particularly in the initial coin offering space,
27   they can do better.” Then-Chairman Clayton further stated: “First, and most
28   disturbing to me, there are ICOs where the lawyers involved appear to be, on the


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1    one hand, assisting promoters in structuring offerings of products that have many
2    of the key features of a securities offering, but call it an ‘ICO,’ which sounds pretty
3    close to an ‘IPO.’ On the other hand, those lawyers claim the products are not
4    securities, and the promoters proceed without compliance with the securities laws,
5    which deprives investors of the substantive and procedural investor protection
6    requirements of our securities laws.”
7          8. As described in more detail herein, Defendants created, offered for sale, and
8    sold approximately $50 million worth of securities known as Hybrid Tokens.
9    Defendants neither registered their offer and sale of securities with the SEC, nor
10   qualified for any exemption from registration, as the law requires. Worse still,
11   Defendants misled and duped their investors, ultimately delivering on none of their
12   commitments to investors.
13         9. Defendants attempted to avoid the reach of the federal securities laws by
14   characterizing the Hybrid Token as a “utility token.” However, when assessing
15   whether something is a security under the federal securities laws, courts—including
16   those in the Ninth Circuit—have repeatedly stated that they will ignore the form of
17   the transaction, and instead focus on the substance and economic reality of the
18   transaction. Here, Defendants’ sale of Hybrid Tokens had all the hallmarks of a
19   securities offering under the securities laws and was therefore required to be
20   registered with the SEC.        No exemption to the registration requirement was
21   available for Defendants’ offer and sale.
22                                          PARTIES
23         10. Mr. Kang is, and at all relevant times was, a citizen of the United States and
24   resident of Los Angeles, California. Throughout 2018, Mr. Kang, on behalf of
25   himself, Skyblock, and MWC, invested approximately $1,461,620 in Hybrid
26   Tokens via transfers of Ethereum, a widely used cryptocurrency (“Ethereum,”
27   “Ether,” or “ETH”).
28   ///


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1         11. Mr. Hurra is, and at all relevant times was, a citizen of India and resident of
2    the United States. On October 6, 2018, Mr. Hurra invested approximately $100,000
3    in Hybrid Tokens via a wire transfer of U.S. dollars.
4         12. Mr. Kim is, and at all relevant times was, a citizen of the United States. On
5    or about March 11, 2018, Mr. Kim, on behalf of himself and BBG, invested
6    approximately $70,000 in Hybrid Tokens via a transfer of Ether.
7         13. Mr. Verduzo is, and at all relevant times was, a citizen of Mexico and resident
8    of the United States.       On or about May 17, 2017, Mr. Verduzo invested
9    approximately $53,020 in Hybrid Tokens via a wire transfer of U.S. dollars.
10        14. Mr. D. Kwon is, and at all relevant times was, a citizen of the United States.
11   Between May 25 and May 31, 2018, Mr. D. Kwon invested at least $250,000 in
12   Hybrid Tokens via transfers of Ether.
13        15. Mr. J. Kwon is, and at all relevant times was, a citizen of the United States.
14   Between May 25 and May 31, 2018, Mr. J. Kwon invested at least $250,000 in
15   Hybrid Tokens via transfers of Ether.
16        16. Hybrid represents itself as, among other things, a private limited company
17   incorporated in Hong Kong with its registered office at Room 1901, 19/F, Lee
18   Garden One, 33 Hysan Avenue, Causeway Bay, Hong Kong. Upon information
19   and belief, Hybrid is an unknown business entity with its registered address at 93
20   Mill Street, Qormi, Malta, and doing business at, among other places, 7 Straits
21   View, #11-01 Marina One East Tower, Singapore, 018936.
22        17. ADAX represents itself as, among other things, “an automated liquidity
23   protocol that facilitates trades within the Cardano ecosystem in a completely
24   decentralized and non-custodial way.”1 Upon information and belief, ADAX is an
25   unknown business entity doing business at, among other places, Kyriakou Matsi,
26   16 Eagle House, Nicosia, Cyprus 1082, CY. Upon information and belief, ADAX
27   was created by Ohno, Jao, and potentially others, for the specific purpose of serving
28
     1
         What is ADAX, ADAX, available at https://adax.pro.

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1    as a so-called “exit vehicle” through which Defendants could—and ultimately
2    did—funnel to themselves the investment funds received from Plaintiffs and others
3    that were intended for Hybrid. Upon information and belief, in or about May 2019,
4    ADAX acquired Hybrid in full or in part. Upon information and belief, immediately
5    thereafter, Defendants began to deactivate, disable, and otherwise remove from
6    various websites, forums, chat rooms, and social media accounts any and all
7    evidence of Defendants’ involvement in Hybrid and the offer and sale of Hybrid
8    Tokens.
9        18. Allysian is an unknown business entity that claims “[o]ur Mission is to
10   maximize human potential through advanced science and education, enabling
11   people to become the best at whatever they choose to be.”2 Allysian offers and sells
12   a variety of supplements, such as “Mastermind,” which claims to be “a
13   breakthrough cognitive support formulation made with unique, potent and proven
14   herbal and botanical extracts from all around the world and designed to help you
15   perform at your best.”3 Upon information and belief, Allysian does not offer or sell
16   any products or services related to digital tokens. Jao and Ohno claim to be the Co-
17   Founders of Allysian, Jao claims to be the Chief Executive Officer of Allysian, and
18   Pugliese claims to be the Global Managing Director of Allysian.4 Upon information
19   and belief, Hybrid transferred substantial portions of the $50 million to Allysian,
20   purportedly for various disclosed and undisclosed products and services. Upon
21   information and belief, that money was ultimately funneled to Ohno, Jao, Pugliese,
22   and Liu individually.
23       19. Ohno is the Co-Founder of Hybrid and the Co-Founder of Allysian. Upon
24   information and belief, Ohno is, and at all relevant times was, a citizen of the United
25   States and a resident of, among other places, Los Angeles, California.
26
     2
       Company, Allysian Sciences, available at https://www.allysian.com/about.html.
27   3
              Mastermind,        Allysian          Sciences,        available       at
28   https://www.allysian.com/mastermind.html.
     4
       Company, Allysian Sciences, available at https://www.allysian.com/about.html.

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1       20. Jao is the Co-Founder of Hybrid and the Co-Founder and Chief Executive
2    Officer of Allysian. Upon information and belief, Jao is, and at all relevant times
3    was, a resident of Vancouver, Canada.
4       21. Pugliese is the Global Managing Director of Allysian. Upon information and
5    belief, Pugliese is, and at all relevant times was, a citizen of the United States and
6    a resident of the state of California.
7       22. Liu is the Executive Director of ADAX. Upon information and belief, Liu
8    is, and at all relevant times was, a resident of Orange County, California.
9       23. The true names and capacities (whether individual, corporate, associate, or
10   otherwise) of the defendants sued as Does 1 through 10, inclusive, or any of them,
11   are unknown to Plaintiffs, and Plaintiffs therefore sue said defendants, and each of
12   them, by such fictitious names. Once the names and capacities of said defendants
13   are ascertained by Plaintiffs, Plaintiffs shall seek leave of Court to allege the same.
14   Plaintiffs are informed and believes, and on such information and belief allege, that
15   defendants sued as Does 1 through 10, inclusive, are each responsible in some
16   manner for the events and happenings herein referred to and are each responsible
17   for damages to Plaintiffs as herein alleged.
18                                     JURISDICTION
19      24. Defendants are subject to personal jurisdiction in this Court because of their
20   numerous contacts with the State of California and the United States, both generally
21   and specifically in connection with their involvement in Hybrid and the offer and
22   sale of Hybrid Tokens. Indeed, during the period beginning in or about January
23   2018, and ending on or about June 6, 2018, Defendants raised approximately $50
24   million from investors, including many based within this District.
25      25. The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
26   because the causes of action asserted herein arise under federal law, including
27   Sections 5 and 12 of the Securities Act, Sections 10(b) and 20(a) of the Exchange
28   Act, and SEC Rule 10b-5.


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1          26. Venue is proper in this District because the acts and transactions constituting
2    the violations alleged in this complaint occurred within this District.
3          27. In connection with the acts and conduct alleged in this complaint,
4    Defendants, directly or indirectly, used the means and instrumentalities of interstate
5    commerce, including, but not limited to, the mails and interstate wire and telephone
6    communications.
7                                 FACTUAL ALLEGATIONS
8          A. Blockchain Technology and Digital Tokens.
9          28. A blockchain is an electronic distributed ledger or list of entries—much like
10   a stock ledger—that is maintained by various participants in a network of
11   computers. Blockchains use cryptography to process and verify transactions on the
12   ledger, providing comfort to users and potential users of the blockchain that entries
13   are secure.
14         29. Blockchain technologies and distributed legers may be used to create and
15   disseminate virtual “tokens” or “coins.” A token or coin may entitle its holders to
16   certain rights related to an underlying venture, such as rights to profits, shares of
17   assets, rights to use certain services provided by the issuer, and/or voting rights.
18   The tokens or coins may also be traded on digital currency exchanges, in exchange
19   for virtual or fiat currencies. As the SEC has stated, based on these rights, “in
20   certain cases, the tokens or coins will be securities and may not be lawfully sold
21   without registration with the SEC or pursuant to an exemption from registration.”
22         30. Tokens are sold in various capital raising events in which an entity offers
23   investors a unique “coin” or “token” in exchange for consideration—most
24   commonly in the form of established virtual currencies (typically Bitcoin (“BTC”)
25   or Ether) or fiat currency. These tokens are issued on a blockchain and are
26   oftentimes listed on online platforms, called cryptocurrency exchanges, where they
27   are tradeable for virtual or fiat currencies.
28   ///


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1       31. To participate in a capital raising event, investors are typically required to
2    transfer virtual currencies to the issuer’s address, online wallet, or other account.
3    During a capital raising event, or after its completion, the issuer will typically
4    distribute its unique “tokens” or “coins” to the participants’ unique address on the
5    blockchain. Like stockholders, tokenholders and coinholders are entitled to certain
6    rights related to the venture underlying the token or coin, such as a profits, shares
7    of assets, use of certain services provided by the issuer, and/or voting rights.
8       32. Capital raising events are typically announced and promoted online, although
9    other marketing may be employed. Issuers often release a “white paper” describing
10   the project and promoting the capital raising event, often in highly technical terms
11   and jargon—as discussed below, Defendants issued several white papers. To
12   participate in the capital raising event, investors are generally required to transfer
13   consideration to the issuer’s address, bank account, digital “wallet,” or other
14   account. After the completion of the capital raising event, the issuer will distribute
15   its tokens to the participants’ unique address on the blockchain.
16      33. Issuers and individuals increasingly have been using blockchain technology
17   in connection with raising capital for business and projects. And blockchain-
18   enabled offerings are often targeted at retail investors in the United States and
19   globally. It is reported that various blockchain technology businesses and projects
20   raised more than $20 billion between June 2017 and November 2018.
21      34. After the initial sale by an issuer, tokens are sometimes transferred between
22   users or listed on online trading platforms, which are sometimes colloquially
23   referred to as “exchanges,” whereon the tokens trade for other digital assets or fiat
24   currencies.
25      B. The Application of the Securities Laws to Digital Tokens.
26      35. The definition of “security” includes a wide range of investment vehicles,
27   including stocks, bonds, and “investment contracts.” Investment contracts are
28   transactions where an individual invests money in a common enterprise and


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1    reasonably expects profits to be derived from the entrepreneurial or managerial
2    efforts of others. In a variety of circumstances, courts have found that investment
3    vehicles other than stocks and bonds constitute investment contracts, including
4    interests in orange groves, animal breeding programs, railroads, airplanes, mobile
5    phones, and enterprises existing only on the Internet. As the Supreme Court of the
6    United States has noted, Congress defined security broadly to embody a “flexible
7    rather than a static principle, one that is capable of adaptation to meet the countless
8    and variable scheme devised by those who seek the use of the money of others on
9    the promise of “profits.”
10      36. The SEC has made clear that digital tokens, such as Hybrid Tokens, often
11   constitute securities. See Investor Bulletin: Initial Coin Offerings, U.S. Securities
12   and Exchange Commission (Jul. 25, 2017) (“[I]n certain cases, the tokens or coins
13   will be securities and may not be lawfully sold without registration with the SEC or
14   pursuant to an exemption from registration[.]”). According to the SEC, “issuers of
15   distributed ledger or blockchain technology-based securities must register offers
16   and sales of such securities unless a valid exemption applies.” Press Release: SEC
17   Issues Investigative Report Concluding DAO Tokens, a Digital Asset, Were
18   Securities (Jul. 25, 2017), https://www.sec.gov/new/press-release/2017-131.
19      37. In a number of speeches, the SEC’s leadership has reinforced this view. For
20   example, in a November 8, 2017, speech entitled Governance and Transparency at
21   the Commission and in Our Markets, Jay Clayton, then-Chairman of the SEC,
22   stated: “I have yet to see an ICO that doesn’t have a sufficient number of hallmarks
23   of a security.” A few months later, on January 22, 2018, then-Chairman Clayton
24   cautioned those involved in the ICO process, stating: “My first message is simple
25   and a bit stern.     Market professionals, especially gatekeepers, need to act
26   responsibly and hold themselves to high standards. To be blunt, from what I have
27   seen recently, particularly in the initial coin offering space, they can do better.”
28   Then-Chairman Clayton further stated: “First, and most disturbing to me, there are


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1    ICOs where the lawyers involved appear to be, on the one hand, assisting promoters
2    in structuring offerings of products that have many of the key features of a securities
3    offering, but call it an ‘ICO,’ which sounds pretty close to an ‘IPO.’ On the other
4    hand, those lawyers claim the products are not securities, and the promoters proceed
5    without compliance with the securities laws, which deprives investors of the
6    substantive and procedural investor protection requirements of our securities laws.”
7       38. Section 5(a) of the Securities Act, 15 U.S.C. § 77e(a), provides that, unless a
8    registration statement is in effect as to a security or an exemption from registration
9    applies, it is unlawful for any person, directly or indirectly, to sell securities in
10   interstate commerce.
11      39. Section 5(c) of the Securities Act, 15 U.S.C. § 77e(c), provides a similar
12   prohibition against offers to sell or offers to buy, unless a registration statement has
13   been filed or an exemption from registration applies. Thus, Sections 5(a) and 5(c)
14   of the Securities Act prohibit the unregistered offer or sale of securities in interstate
15   commerce, absent an exemption.
16      40. The federal securities laws, including the Securities Act and the Exchange
17   Act, and the regulations promulgated thereunder, require the disclosure of all
18   material facts in connection with the offer and sale of securities. Sections 11 and
19   12(a)(2) of the Securities Act, for example, prohibit material misstatements and
20   omissions in prospectuses and registration statements, respectively, and Section
21   17(a) of the Securities Act generally prohibits material misstatements and omission
22   in connection with the sale of securities. In addition, Section 10(b) of the Securities
23   Act and SEC Rule 10b-5 provide purchasers of securities a private right of action
24   against all persons and entities who use deceptive devices in connection with the
25   offer and sale of securities.
26      C. The Hybrid White Paper Version 1.9.2.
27      41. In or about early 2018, Defendants publicly published Version 1.9.2 of the
28   Hybrid Block White Paper (the “White Paper 1.9.2.”).


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1       42. The White Paper 1.9.2 summarized Hybrid’s aspirations as follows:
2
                 HybridBlock is an ecosystem that brings cryptocurrency to everyday
                 retail investors, we are focused on the individuals who are just learning
3                about cryptocurrencies to the expert day trader looking for the most
4
                 sophisticated, secure, and reliable trading tools on the planet. We want
                 everyone in the world to have a personalized experience to buy, trade,
5                and learn about cryptocurrency according to THEIR needs. With a
6
                 focus in the high growth regions, starting in Asia.

7                The HybridBlock ecosystem starts with BaseTrade, a platform that
8                enables consumers the easiest way to buy, sell, and store
                 cryptocurrencies.       For more intermediate users we have
9                HybridExchange, the best ways to transact with new digital currencies,
10               including HybridBlock Token, Bitcoin, Ethereum, Litecoin and select
                 other utility tokens. A more advanced option is HybridTrade, a client-
11               side desktop application for institutional or professional traders. The
12               entire ecosystem has been engineered from the ground up to leverage
                 the latest technologies that will allow HybridBlock to scale to
13               hundreds of millions of simultaneous users.
14
                 Unlike any other exchange, we have a governance token that
15               empowers all participants to work together to shape and build the
16               future of the HybridBlock ecosystem together.

17
        43. The White Paper 1.9.2 noted that Hybrid “operate[s] in a complex regulatory

18
     environment,” but claimed that “our expectation is to work alongside individual

19
     governments in order to obtain the necessary licensing for our operations,

20
     primarily in Southeast Asia.”

21
        44. The White Paper 1.9.2 touted that “[o]ne of Hybrid’s advantages is its

22
     established network within its target markets, primarily in Asia.” According to the

23
     White Paper 1.9.2., “HybridBlock has longstanding relationships in[sic] multiple

24
     governments and regulators responsible for crafting legislation and issuing

25
     licenses, including the Philippines, Malaysia, Labuan, Singapore, Hong Kong,

26
     Korea, Taiwan, and provincial governments of large cities in China.” In fact,

27
     according to the White Paper 1.9.2., “ HybridBlock has already met with

28
     regulators in numerous countries to begin this process. While government and


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1    regulatory approval is outside of our control, we will place a strong effort into
2    seeing approvals in target markets through to fruition.
3          45. The White Paper 1.9.2 claimed to have “assembled a team comprised of
4    experienced trading system professionals from both the cryptocurrency industry
5    and non-crypto Wall Street markets.”
6          46. According to the White Paper 1.9.2, “[t]he HybridTerminal platform is
7    architected with a strong focus on security.” The White Paper 1.9.2. acknowledged
8    that “[g]iven the nature of cryptographically-constructed currency and tokens,
9    security is an important element to our long-term success” and claimed that
10   “HybridTerminal will be hosted in Tier One datacenters and will follow all industry
11   standard web and desktop application security best practices.”
12         47. The White Paper 1.9.2 admitted that Hybrid Tokens would be available for
13   purchase and sale in secondary markets, proclaiming that “Hybrid Tokens will be
14   tradeable on Hybrid’s trading platforms, and on other exchanges” and that “[h]aving
15   Hybrid Tokens listed on multiple exchanges provides liquidity to the market.”
16         48. The White Paper 1.9.2 explained that the funds raised from the sale of Hybrid
17   Tokens would be used as follows:
18                 • 53% - Pre-Sale and Open Token Sale – HybridBlock has
                      already received investment from strategic partners in order to
19                    begin the development of our ecosystem and specifically our
20                    HybridTerminal platforms. Tokens will be sold via DART for
                      the Pre-Sale, followed by a public crowd sale.
21                 • 27% - Team and Advisors – This pool will also account for the
22                    founding team and advisors.
                   • 20% - Marketing, Bounty and Strategic Partnerships – The
23
                      marketing pool will be used to increase awareness of our
24                    products and ecosystem. A minimum of 2% of the token pool
                      will be applied to the “Bounty Program”. Bounty tokens will be
25
                      held in reserve to incentivize bug bounties for the HybridBlock
26                    smart contract to find potential bugs.
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1       49. The White Paper 1.9.2 further proclaimed that “[m]ultiple multi-signature
2    Trezor hardware wallets for cold storage of tokens and funds raised during sale will
3    be used to mitigate the risk of loss of funds raised.”
4       D. The Hybrid White Paper Version 2.0.
5       50. On or about April 20, 2018, Defendants publicly published Version 2.0 of
6    the Hybrid Block Official Whitepaper (the “White Paper 2.0”).
7       51. The White Paper 2.0 summarized Hybrid’s aspirations as follows:
8
                 We stand at the edge of a precipice. While the world-at-large isn’t
                 fully aware yet, people close to the blockchain community can feel the
9                pending revolution. But this isn’t a sad revolution. It’s a joyous one.
10
                  Throughout human history, we’ve seen the baton of power seized by
11                distinct players across the shifting eras of our evolution. From
12
                  churches, to monarchs, to banks, to corporations, and now—to the
                  ‘collective individual.’
13

14                Never before has there been a system that can fuel independent power,
                  someone ironically, through the consensus of strangers who are all part
15                of the same grand, decentralized ecosystem. Never before has the
16                prospect of borderless banking for the billions of unbanked people in
                  third-world countries been a potential reality. But here we are at the
17                precipice, staring at the opportunity across the chasm.
18
                  Any paradigm-shifting revolution takes time, and comes with
19                seemingly insurmountable hurdles to overcome. How do we educate
20                the world to bring them past the fear of hackers and the dark web?
                  How do we, from a technology perspective, responsibly scale a system
21                with no central leader? How do we enable the poor farmer in Africa
22                to instantly and freely receive currency from his son in South America,
                  while also allowing big corporations to adopt the technology at an
23                enterprise scale?
24
                  These questions are already being addressed and answered by an army
25                of blockchain enthusiasts. The community is hard at work, building a
26                bridge to cross the canyon. And we’re excited to say that HybridBlock
                  is playing a critical role in forming the foundation of that bridge.
27

28                HybridBlock is building an ecosystem that seeks to bring 100 million
                  new people into the blockchain network over the next three years.

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1
                We’re mapping out our lofty goals and partnering with the smartest
                people on the planet to execute our vision.
2

3
                Our education platform, HybridCentral, will onboard new folks from
                around the globe into the blockchain economy. In parallel, our all-in-
4               one trading ecosystem will bring a full suite of trading tools to
5
                blockchain’s burgeoning infrastructure, serving beginners
                (BaseTrade), intermediate traders (HybridExchange), and
6               professionals (HybridTerminal).
7
                With former Olympic champions, investment bankers, Wall Street
8               quants, and Whitehouse [sic] officials forming our core team, we are
9               poised and ready to bring our society into a new era of global freedom.
                If you can see the precipice in front of you, and want us all to land
10              safely on the other side, you should consider supporting HybridBlock.
11              We invite you to become an active participant in our story, and to be
                among the first pioneers to cross the bridge.
12

13      52. The White Paper 2.0 claimed to either have or be building numerous
     proprietary products, including, but not limited to:
14

15           • BaseTrade: “An easy-to-use cryptocurrency platform, where you can
               buy and sell, along with an exchange and wallet with funding options
16             tailored to each country in which we operate.”
17           • HybridExchange: “Our consumer platform, which will allow traders
               to provide liquidity to our target markets. This platform will provide
18
               a full order book in designated markets and currency pairs, as well as
19             provide traders with access to third party cryptocurrency exchanges
               within a single interface. Our focus is to optimize liquidity being
20
               offered on our platform.”
21           • HybridTerminal: “In addition to our web client, we are working to
               release a desktop trading terminal that connects to ours and our
22
               partner’s APIs. Please note that HybridTerminal is scheduled to be
23             released two months after BaseTrade and HybridExchange.”
24
             • HybridWallet: “HybridWallet is being built as a free, open source
               mobile wallet for storing and transacting Hybrid Block Tokens
25             according to the Ethereum ERC20 standard. Additionally, it will be
26
               able to store a fiat-currency backed token called HybridFX (HFXs).
               HybridWallet is a client-side interface that interacts with the Ethereum
27             blockchain. Once downloaded onto a user’s cell phone, he or she can
28
               easily receive, store and send HybridBlockTM Tokens or HFXs of any
               supported fiat currency. While the wallet is fundamentally a

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1
                  cryptocurrency wallet, the HybridWalletTM application has the ability
                  to act as an alternative to a bank account for anyone globally.”
2               • HybridFX: “HybridFX enables the creation of digital tokens backed
3                 by fiat currency. These fiat-backed tokens provide individuals and
                  organizations with a robust and decentralized method of exchanging
4                 value while using a familiar unit of accounting. Blockchain plays a
5                 vital role in this technology, providing an auditable and
                  cryptographically secure global ledger. Asset-backed token issuers
6                 and other market participants can take advantage of blockchain
7                 technology, along with embedded consensus systems, to transact in
                  familiar, less volatile currencies and assets.”
8
        53. The White Paper 2.0 touted that (i) “[o]ne of Hybrid’s advantages is its
9
     established network within its target markets, primarily in Asia,” (ii) “HybridBlock
10
     has longstanding relationships with multiple governments and industry regulators,
11
     including the Philippines, Malaysia, Labuan, Singapore, Hong Kong, Korea,
12
     Taiwan, and provincial governments of large cities in China,” and (iii)
13
     “HybridBlock has already met with regulators in numerous countries to ensure that
14
     we are compliant with current laws and regulations and will continue to do so in the
15
     future.”
16
        54. The White Paper 2.0 marketed and sold Hybrid Tokens and, notably, touted
17
     the secondary market for Hybrid Tokens:
18

19                 HybridBlock has created the Hybrid token, which plays a pivotal role
20                 in the functioning of Hybrid-Network. Additionally, HybridToken
                   owners will receive, discounted fees, exclusive access to new products
21                 and services, and opportunities to invest in future ICO/Token Sales
22                 that HybridBlock will launch.
                   Hybrid Tokens serve three primary functions:
23                 1. Payment of transaction fees and for all services within our
24                 blockchain network
                   2. To provide exclusive access to specialized products and services
25                 3. As a tradable cryptocurrency token available on the open market
26      55. According to the White Paper 2.0, Hybrid Tokens would be allocated as
27   follows:
28                 •     3% - Pre-Sale and Open Token Sale - HybridBlock has already
                         received investment from strategic partners in order to begin the

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1
                        development of our ecosystem and specifically our
                        HybridTerminal platforms. Tokens will be sold via DART for
2                       the Pre-Sale, followed by a public crowd sale.
3                 •     27% - Team and Advisors - This pool will also account for the
                        founding team and advisors.
4                 •     20% - Marketing, Bounty and Strategic Partnerships - The
5                       marketing pool will be used to increase awareness of our
                        products and ecosystem. A minimum of 2% of the total token
6                       pool will be applied to the “Bounty Program”. Bounty tokens
7                       will be held in reserve to incentivize bug bounties for the
                        HybridBlock smart contract to find potential bugs.
8
        56. The White Paper 2.0 explained that “[t]he Open Token Sale (OTS) will be
9
     done through the issuance of HybridBlockTM tokens generated by an ERC 20 Smart
10
     Contract via the Ethereum network on May 23 2018,” “[t]he pricing for the Hybrid-
11
     BlockTM Tokens in the OTS will be at $0.30USD per Token in ETH or BTC based
12
     on ETH/USD or BTC/ USD time stamped price of ETH or BTC at time of arrival
13
     in the official HybridBlock ETH or BTC wallet addresses,” and that because
14
     “[t]okens will be distributed through the HybridExchangeTM platform on the date of
15
     token distribution” there would be “a gateway to immediate trading on our
16
     platform.”
17
        57. According to the White Paper 2.0, the funds raised from the sale of Hybrid
18
     Tokens would be allocated as follows:
19              1. Exchange-based Liquidity (40%)
20              2. Product Development (30%)
                3. Strategic Partnerships (10%)
21              4. Operations (10%)
22              5. Legal & Regulations (10%)
23      58. According to the White Paper 2.0, the Hybrid project would be developed

24   along the following schedule:
                  •     R&D – March 2017
25
                  •     HybridBlockTM Concept – May 2017
26                •     Whitepaper Draft – July 1, 2017
27
                  •     Website Launch – July 7, 2017
                  •     HybridBlock Press Conference, Hong Kong – September 28,
28                      2017

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1                 •      HybridBlock Pre-Launch Conference, Penang, Malaysia –
                         October 14, 2017
2                 •      HybridBlock Pre-Launch Conference, Macau – October 24,
3                        2017
                  •      Official Whitepaper Release – November 15, 2017
4
                  •      HybridCentralTM Beta – December 1, 2017
5                 •      Hybrid Summit 2017, Macau – December 4, 2017
                  •      Token Pre-Sale – January 15, 2018
6
                  •      Hybrid Forum Manila, Philippines – January 20, 2018
7                 •      Hybrid Forum Kuala Lumpur, Malaysia – January 28, 2018
8                 •      Open Token Sale (Public) – May 23 2018
                  •      BaseTradeTM Beta & HybridExchangeTM Beta – May 2018
9
                  •      HybridTerminalTM Beta, HybridFxTM Product Launch –
10                       September 2018
11        59.     The White Paper 2.0 touted Hybrid’s well-known “Advisors,”
12   including Reeve Collins, the co-founder and CEO of Tether.
13      E. The Hybrid White Paper Version 2.0.
14        60.     On or about May 20, 2018, Defendants published Version 2.0 of the
15   Hybrid Block Official Whitepaper (the “May White Paper 2.0” and, together with
16   the White Paper 1.9.2 and White Paper 2.0, the “White Papers”). The May White
17   Paper 2.0 reiterated the same claims made in the White Paper 2.0.
18      F. Defendants Knew the Statements in the White Papers Were False and
19         Misleading.
20        61.     Defendants possessed the power and authority to control the contents
21   of Hybrid’s statements, including the statements in the White Papers.
22        62.     Defendants knew the statements in the White Papers contained
23   material misrepresentations and omissions, but did nothing to correct said material
24   misrepresentations and omissions, and in fact assisted in further disseminating said
25   material misrepresentations and omissions.
26        G.      Hybrid Tokens Are Securities.
27        63.     To determine whether an instrument is an investment contract, or
28   security, for purposes of the federal securities laws, courts apply the test announced


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1    in SEC v. W. J. Howey Co., 328 U.S. 293 (1946) (“Howey”). Pursuant to the so-
2    called Howey test, an investment contract, or security, is defined as “contract,
3    transaction or scheme whereby a person invests his money in a common enterprise
4    and is led to expect profits solely from the efforts of the promoter or a third party.”
5         64.     On April 3, 2019, the SEC released a detailed Framework to analyze
6    digital assets under the Howey test (the “SEC Framework”).
7         65.     As discussed below, Hybrid Tokens are investment contracts and
8    therefore securities because they constituted an investment of money in a common
9    enterprise with a reasonable expectation of profits to be derived from the efforts of
10   others.
11         1. Hybrid Token Purchasers Invested Money.
12        66.     Plaintiffs and other investors made an investment of money or other
13   valuable consideration for purposes of Howey.
14        67.     The SEC Framework states that “[t]he first prong of the Howey test is
15   typically satisfied in an offer and sale of a digital asset because the digital asset is
16   purchased or otherwise acquired in exchange for value, whether in the form of
17   traditional (or fiat) currency, another digital asset, or other type of consideration.”
18        68.     Plaintiffs and other investors invested U.S. Dollars and digital
19   currencies, such as Bitcoin and Ether, to purchase Hybrid Tokens.
20         2. Hybrid Token Investors Participated in a Common Enterprise.
21        69.     Plaintiffs invested money or other valuable consideration into a
22   common enterprise for purposes of Howey.
23        70.     The SEC Framework states that “[i]n evaluating digital assets, we have
24   found that a ‘common enterprise’ typically exists.” This is “because the fortunes
25   of digital asset purchasers have been linked to each other or to the success of the
26   promoter’s efforts.”
27        71.     Hybrid Tokens are no different, and involve a common enterprise as
28   demonstrated by the presence of both horizontal and vertical commonality.


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1         72.     Plaintiffs and other investors were passive participants in the offer and
2    sale of Hybrid Tokens. The fortunes of investors, like Plaintiffs, are tied to one
3    another through pooled assets and pro-rata distribution of profits and interwoven
4    with and dependent on the efforts and fortunes of Defendants. Indeed, Hybrid was
5    responsible for supporting Hybrid Tokens, pooled Plaintiffs’ and other investors’
6    assets, and controlled those assets. Hybrid also retained a significant stake in
7    Hybrid Tokens, thus sharing in the profits and risk of the venture.
8          3. Hybrid Token Investors Purchased the Tokens with a Reasonable
9               Expectation of Profit Therefrom.
10        73.     Plaintiffs were led to expect and did reasonably expect a profit from
11   their investment of money or other valuable consideration for purposes of Howey.
12        74.     With respect to Plaintiffs’ and other investors’ “reasonable expectation
13   of profits,” the SEC Framework explains that “[a] purchaser may expect to realize
14   a return through participating in distributions or through other methods of realizing
15   appreciation on the asset, such as selling at a gain in a secondary market.”
16        75.     According to the SEC Framework, there is likely to be a “reasonable
17   expectation of profits” where:
18      • The digital asset gives the holder rights to share in the enterprise's income or
19         profits or to realize gain from capital appreciation of the digital asset.
20      • The opportunity may result from appreciation in the value of the digital asset
21         that comes, at least in part, from the operation, promotion, improvement, or
22         other positive developments in the network, particularly if there is a
23         secondary trading market that enables digital asset holders to resell their
24         digital assets and realize gains.
25      • This also can be the case where the digital asset gives the holder rights to
26         dividends or distributions.
27      • The digital asset is transferable or traded on or through a secondary market
28         or platform, or is expected to be in the future.


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1    • Purchasers reasonably would expect that an [Active Participant’s (“AP’s”)]
2       efforts will result in capital appreciation of the digital asset and therefore be
3       able to earn a return on their purchase.
4    • The digital asset is offered broadly to potential purchasers as compared to
5       being targeted to expected users of the goods or services or those who have
6       a need for the functionality of the network.
7    • The digital asset is offered and purchased in quantities indicative of
8       investment intent instead of quantities indicative of a user of the network.
9       For example, it is offered and purchased in quantities significantly greater
10      than any likely user would reasonably need, or so small as to make actual use
11      of the asset in the network impractical.
12   • There is little apparent correlation between the purchase/offering price of the
13      digital asset and the market price of the particular goods or services that can
14      be acquired in exchange for the digital asset.
15   • There is little apparent correlation between quantities the digital asset
16      typically trades in (or the amounts that purchasers typically purchase) and the
17      amount of the underlying goods or services a typical consumer would
18      purchase for use or consumption.
19   • The AP has raised an amount of funds in excess of what may be needed to
20      establish a functional network or digital asset.
21   • The AP is able to benefit from its efforts as a result of holding the same class
22      of digital assets as those being distributed to the public.
23   • The AP continues to expend funds from proceeds or operations to enhance
24      the functionality or value of the network or digital asset.
25   • The digital asset is marketed, directly or indirectly, using any of the
26      following:
27         o The expertise of an AP or its ability to build or grow the value of the
28            network or digital asset.


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1               o The digital asset is marketed in terms that indicate it is an investment
2                  or that the solicited holders are investors.
3               o The intended use of the proceeds from the sale of the digital asset is to
4                  develop the network or digital asset.
5               o The future (and not present) functionality of the network or digital
6                  asset, and the prospect that an AP will deliver that functionality.
7               o The promise (implied or explicit) to build a business or operation as
8                  opposed to delivering currently available goods or services for use on
9                  an existing network.
10              o The ready transferability of the digital asset is a key selling feature.
11              o The potential profitability of the operations of the network, or the
12                 potential appreciation in the value of the digital asset, is emphasized in
13                 marketing or other promotional materials.
14              o The availability of a market for the trading of the digital asset,
15                 particularly where the AP implicitly or explicitly promises to create or
16                 otherwise support a trading market for the digital asset.
17        76.      Investors in Hybrid Tokens, including Plaintiffs, made their
18   investment with a reasonable expectation of profits.
19        77.      Hybrid Tokens were sold to Plaintiffs and other investors prior to a
20   network or ecosystem on which they could be used being fully developed.
21        78.      Moreover, as explained above, investors in Hybrid Tokens, including
22   Plaintiffs, were led to believe by Defendants that Hybrid Tokens would be traded
23   on secondary markets.
24        4.       Investors Expected Profits from Hybrid Tokens to be Derived
25   from the Managerial Efforts of Others.
26        79.      Plaintiffs’ expectation of profits from their investment was dependent
27   and reliant upon the managerial efforts of others for purposes of Howey.
28



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1          80.      The SEC Framework explains that the “inquiry into whether a
2    purchaser is relying on the efforts of others focuses on two key issues: Does the
3    purchaser reasonably expect to rely on the efforts of an [AP]? Are those efforts ‘the
4    undeniably significant ones, those essential managerial efforts which affect the
5    failure or success of the enterprise,’ as opposed to efforts that are more ministerial
6    in nature?”
7          81.      The presence of the following characteristics makes it “more likely it
8    is that a purchaser of a digital asset is relying on ‘the efforts of others’”:
9       • An AP is responsible for the development, improvement (or enhancement),
10         operation, or promotion of the network, particularly if purchasers of the
11         digital asset expect an AP to be performing or overseeing tasks that are
12         necessary for the network or digital asset to achieve or retain its intended
13         purpose or functionality.
14               o Where the network or the digital asset is still in development and the
15                  network or digital asset is not fully functional at the time of the offer
16                  or sale, purchasers would reasonably expect an AP to further develop
17                  the functionality of the network or digital asset (directly or indirectly).
18                  This particularly would be the case where an AP promises further
19                  developmental efforts in order for the digital asset to attain or grow in
20                  value.
21      • There are essential tasks or responsibilities performed and expected to be
22         performed by an AP, rather than an unaffiliated, dispersed community of
23         network users (commonly known as a "decentralized" network).
24      • An AP creates or supports a market for, or the price of, the digital asset. This
25         can include, for example, an AP that: (1) controls the creation and issuance
26         of the digital asset; or (2) takes other actions to support a market price of the
27         digital asset, such as by limiting supply or ensuring scarcity, through, for
28         example, buybacks, "burning," or other activities.


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1    • An AP has a lead or central role in the direction of the ongoing development
2       of the network or the digital asset. In particular, an AP plays a lead or central
3       role in deciding governance issues, code updates, or how third parties
4       participate in the validation of transactions that occur with respect to the
5       digital asset.
6    • An AP has a continuing managerial role in making decisions about or
7       exercising judgment concerning the network or the characteristics or rights
8       the digital asset represents including, for example:
9          o Determining whether and how to compensate persons providing
10             services to the network or to the entity or entities charged with
11             oversight of the network.
12         o Determining whether and where the digital asset will trade. For
13             example, purchasers may reasonably rely on an AP for liquidity, such
14             as where the AP has arranged, or promised to arrange for, the trading
15             of the digital asset on a secondary market or platform.
16         o Determining who will receive additional digital assets and under what
17             conditions.
18         o Making or contributing to managerial level business decisions, such as
19             how to deploy funds raised from sales of the digital asset.
20         o Playing a leading role in the validation or confirmation of transactions
21             on the network, or in some other way having responsibility for the
22             ongoing security of the network.
23         o Making other managerial judgements or decisions that will directly or
24             indirectly impact the success of the network or the value of the digital
25             asset generally.
26   • Purchasers would reasonably expect the AP to undertake efforts to promote
27      its own interests and enhance the value of the network or digital asset, such
28      as where:


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1               o The AP has the ability to realize capital appreciation from the value of
2                  the digital asset. This can be demonstrated, for example, if the AP
3                  retains a stake or interest in the digital asset. In these instances,
4                  purchasers would reasonably expect the AP to undertake efforts to
5                  promote its own interests and enhance the value of the network or
6                  digital asset.
7               o The AP distributes the digital asset as compensation to management or
8                  the AP’s compensation is tied to the price of the digital asset in the
9                  secondary market.       To the extent these facts are present, the
10                 compensated individuals can be expected to take steps to build the
11                 value of the digital asset.
12              o The AP owns or controls ownership of intellectual property rights of
13                 the network or digital asset, directly or indirectly.
14              o The AP monetizes the value of the digital asset, especially where the
15                 digital asset has limited functionality.
16        82.      The SEC Framework also notes that “[a]lthough no one of the
17   following characteristics of use or consumption is necessarily determinative, the
18   stronger their presence, the less likely the Howey test is met:”
19      • The distributed ledger network and digital asset are fully developed and
20         operational.
21      • Holders of the digital asset are immediately able to use it for its intended
22         functionality on the network, particularly where there are built-in incentives
23         to encourage such use.
24      • The digital assets' creation and structure is designed and implemented to meet
25         the needs of its users, rather than to feed speculation as to its value or
26         development of its network. For example, the digital asset can only be used
27         on the network and generally can be held or transferred only in amounts that
28         correspond to a purchaser's expected use.


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1          • Prospects for appreciation in the value of the digital asset are limited. For
2             example, the design of the digital asset provides that its value will remain
3             constant or even degrade over time, and, therefore, a reasonable purchaser
4             would not be expected to hold the digital asset for extended periods as an
5             investment.
6          • With respect to a digital asset referred to as a virtual currency, it can
7             immediately be used to make payments in a wide variety of contexts, or acts
8             as a substitute for real (or fiat) currency.
9                o This means that it is possible to pay for goods or services with the
10                   digital asset without first having to convert it to another digital asset or
11                   real currency.
12               o If it is characterized as a virtual currency, the digital asset actually
13                   operates as a store of value that can be saved, retrieved, and exchanged
14                   for something of value at a later time.
15         • With respect to a digital asset that represents rights to a good or service, it
16            currently can be redeemed within a developed network or platform to acquire
17            or otherwise use those goods or services. Relevant factors may include:
18               o There is a correlation between the purchase price of the digital asset
19                   and a market price of the particular good or service for which it may
20                   be redeemed or exchanged.
21               o The digital asset is available in increments that correlate with a
22                   consumptive intent versus an investment or speculative purpose.
23               o An intent to consume the digital asset may also be more evident if the
24                   good or service underlying the digital asset can only be acquired, or
25                   more efficiently acquired, through the use of the digital asset on the
26                   network.
27   ///
28   ///


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1       • Any economic benefit that may be derived from appreciation in the value of
2          the digital asset is incidental to obtaining the right to use it for its intended
3          functionality.
4       • The digital asset is marketed in a manner that emphasizes the functionality
5          of the digital asset, and not the potential for the increase in market value of
6          the digital asset.
7       • Potential purchasers have the ability to use the network and use (or have
8          used) the digital asset for its intended functionality.
9       • Restrictions on the transferability of the digital asset are consistent with the
10         asset's use and not facilitating a speculative market.
11      • If the AP facilitates the creation of a secondary market, transfers of the digital
12         asset may only be made by and among users of the platform.
13        83.     Purchasers of pre-functional tokens, such as Hybrid Tokens,
14   necessarily rely on the managerial efforts of others to realize value from their
15   investments. The success of these managerial efforts in developing the networks
16   on which these tokens will operate is the primary factor in their price—that is, until
17   such tokens transition into being functional utility tokens. Hybrid Tokens were
18   securities at issuance because profits from Hybrid Tokens would be derived
19   primarily from the managerial efforts of Defendants in developing the associated
20   network on which Hybrid Tokens would function, rather than having its profit
21   derived from market forces of supply and demand, such as might affect the price of
22   a commodity such as gold.
23        84.     Hybrid Tokens satisfy most if not all of the factors the SEC described
24   as relevant to its determination whether a digital asset is a security for purposes of
25   the Howey test. Defendants created Hybrid Tokens from thin air. Defendants
26   represented that they would develop an ecosystem that would increase the value of
27   Hybrid Tokens. Plaintiffs reasonably expected Defendants to provide significant
28   managerial efforts to develop and improve the Hybrid Token ecosystem, to develop


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1    and sustain a supportive network, and to secure listing at exchanges through which
2    Hybrid Tokens could be traded or liquidated. Defendants represented that they
3    would provide significant managerial efforts to achieve these objectives and make
4    Hybrid Tokens a success.
5         85.     Defendants attempt to distort the truth by calling Hybrid Tokens
6    “utility tokens.” The artifice of this terminology had its clear genesis in a report the
7    SEC published on July 25, 2017, regarding the DAO Initial Coin Offering, which
8    involved DAO Tokens being offered in exchange for ETH investments (the “DAO
9    Report”). In the DAO Report, the SEC concluded that the DAO Tokens were
10   securities. Shortly after the SEC published the DAO Report, on October 2, 2017, a
11   trio of attorneys published a whitepaper entitled “The SAFT Project: Toward a
12   Compliant Token Sale Framework” (the “SAFT Project Whitepaper”).5 The SAFT
13   Project Whitepaper explained that it’s focus was on “so-called ‘utility tokens,’”
14   which it described as a “category of blockchain tokens contains assets that do not
15   purport to replace legacy financial services products. They are designed to offer
16   intrinsic utility that powers a decentralized, distributed network that delivers to the
17   users of the network a consumptive good or service.”           6
                                                                        The SAFT Project
18   Whitepaper explained that “[t]he DAO Token was not a utility token, and the SEC
19   did not speak on utility tokens specifically,” and claimed that “utility tokens now
20   make up a significant proportion of aggregate token offerings. . . .” 7 As explained
21   herein, however, Defendants’ use of the nomenclature “utility tokens” does not alter
22

23   5
       The SAFT Project: Toward a Compliant Token Sale Framework, Juan Batiz-Benet,
24   Marco Santori, Jesse Clayburgh, COOLEY (Oct. 2, 2017), available at
     https://www.cooley.com/-/media/cooley/pdf/reprints/saft-project-whitepaper.ashx.
25   6
       The SAFT Project: Toward a Compliant Token Sale Framework, Juan Batiz-Benet,
26   Marco Santori, Jesse Clayburgh, COOLEY (Oct. 2, 2017), available at
     https://www.cooley.com/-/media/cooley/pdf/reprints/saft-project-whitepaper.ashx.
27   7
       The SAFT Project: Toward a Compliant Token Sale Framework, Juan Batiz-Benet,
28   Marco Santori, Jesse Clayburgh, COOLEY (Oct. 2, 2017), available at
     https://www.cooley.com/-/media/cooley/pdf/reprints/saft-project-whitepaper.ashx.

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1    or negate the fact Hybrid Tokens are investment contracts pursuant to the Howey
2    test, and therefore securities for purposes of the federal securities laws.
3         86.     When determining whether a security has been offered and sold, the
4    focus must be on the economic realities underlying the transaction. Here, the
5    economic reality is that the offer and sale of Hybrid Tokens was an offer and sale
6    of securities. Indeed, Plaintiffs invested cryptocurrency and fiat currency in order
7    to receive Hybrid Tokens, which they were conditioned to expect would be worth
8    more than their initial cryptocurrency investments.
9         87.     Defendants also made it clear that the purpose of the sale of Hybrid
10   Tokens was to raise capital to finance the development of the Hybrid project.
11   Defendants sold approximately $50 million of Hybrid Tokens to private investors.
12        88.     Defendants themselves recognized, both implicitly and explicitly, that
13   purchasers of Hybrid Tokens have a reasonable expectation of profit.
14        89.     Additionally, the contributions received from investors were being
15   pooled and managed by Defendants to fund projects that would increase the
16   adoption of the Hybrid platform, thereby increasing the value of Hybrid Tokens.
17        90.     Investors have entirely passive roles vis-à-vis the success of the Hybrid
18   project and Hybrid Tokens. The success of the Hybrid project, and the profits
19   reasonably expected by Plaintiffs to be derived from the Hybrid Project, are
20   dependent solely on the technical, entrepreneurial, and managerial efforts of
21   Defendants and their agents and employees.
22        91.     From the outset, Defendants were responsible for developing the
23   Hybrid platform, establishing the Hybrid platform, and choosing directors,
24   managers, and all persons critical to Hybrid’s success.         Plaintiffs reasonably
25   expected Defendants to provide significant managerial efforts, to develop and
26   complete the Hybrid platform, to develop and sustain Apps and a supportive
27   network after its launch, and to create exchanges through which Hybrid Tokens
28   could be traded or liquidated. Through their conduct and marketing materials,


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1    Defendants repeatedly represented that they would be relied upon to provide the
2    significant managerial efforts required to achieve these objective and make Hybrid
3    a success.
4           92.   Although Defendants characterized Hybrid Tokens as “utility tokens”
5    in the White Paper, these tokens did not have any functionality at the time of the
6    ICO.
7       H. Defendants’ Solicitation of United States Investors and Funds.
8           93.   Defendants did not register their offer and sale of Hybrid Tokens with
9    the SEC. As such, Defendants were prohibited from offering for sale or selling
10   Hybrid Tokens to United States based investors, absent an applicable exemption.
11   However, as described herein, Defendants knowingly and willfully ignored that
12   prohibition and offered for sale and sold Hybrid Token to United States based
13   investors, including Plaintiffs.
14          94.   For example, as shown in the below image, on October 12, 2017,
15   Defendants Apolo Ohno and Rod Jao met and dined with several United States
16   based investors, including Herman Seo, Ohno, Jao, Kang, Ryan Lee, Jeff Dubinsky
17   (“Mr. Dubinsky”), Hen Tekle (“Mr. Tekle”), Ugo Nduguba, Ian Balina, J. Kwon,
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1    and Liam Murphy, at a restaurant named Park’s BBQ located at 955 S. Vermont
2    Ave, Ste. G, Los Angeles, California 90006 (the “Dinner”).
3         95.          The Dinner was intended to be, and was in fact, a means of recruiting
4    employees and investments. Indeed, following the Dinner, (i) Mr. Dubinski was
5    named a Vice President of Hybrid, (ii) Mr. Tekle became an advisor to and investor
6    in Hybrid, (iii) and Mr. Kwon became an investor to Hybrid.
7         96.          In addition, Defendants vigorously marketed Hybrid Tokens and the
8    ICO through their Twitter account, viewable by consumers around the world, in the
9    United States and elsewhere.             None of Defendants’ Tweets mentioned any
10   prohibition on United States investors.
11        97.          To provide just a few examples:
12              (i)       On February 6, Hybrid proclaimed that “HybridBlock consists of
13                        an ecosystem that leverages the power of []cryptocurrency” and
14                        provided a link for prospective investors to “[d]ownload our
15                        []Whitepaper[.]”8
16              (ii)      On March 13, 2018, Hybrid announced it had raised more than $40
17                        million U.S. dollars and wrote that “[w]e want to give a huge thank
18                        you in the community as we couldn’t have had such a successful
19                        pre-sale raise without each and every one of you.”9
20              (iii)     On March 21, 2018, Hybrid retweeted an article from Fox Business
21                        with the headline “Life after Olympics: Apolo Ohno seeks to
22                        Launch $50M blockchain platform.”10
23

24

25   8
         Hybrid (@HybridBlock HQ), Twitter (Feb. 6, 2018, 8:56 A.M.),
26   https://twitter.com/HybridBlockHQ/status/960920025568702464.
     9
        Hybrid (@HybridBlock HQ), Twitter (Mar. 13, 2018, 8:01 A.M.),
27
     https://twitter.com/HybridBlockHQ/status/973574734897188864.
     10
28       Hybrid (@HybridBlock HQ), Twitter (Mar. 21, 2018, 8:38 P.M.),
     https://twitter.com/HybridBlockHQ/status/976664273748480000.

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1                 (iv)     On April 29, 2018, Hybrid invited prospective investors to
2                          “REGISTER FOR THE []HYBRIDBLOCK []TOKENSALE.”11
3                 (v)      On May 20, 2018, Hybrid reminded investors that “[t]he public sale
4                          will commence on May 23, 2018 through the 30th.”12
5                 (vi)     On May 23, 2018, Hybrid announced that the “HybridBlock Public
6                          Sale is almost LIVE!” and provided pertinent details, including, but
7                          not limited to, the “OTS Start Date: May 23rd,” the “OTS Closing
8                          Date:   June 6th,” the “OTS Start Time:          12pm CEST,” the
9                          “Minimum Contribution:           0.25 ETH,” and the “OTS Price:
10                         $0.30/HYB.”13
11                (vii) On June 3, 2018, Hybrid Tweeted that “[]HybridBlock is the best
12                         []ICO to invest right now.” 14
13          98.         Upon information and belief, despite raising tens of millions of dollars,
14   Hybrid did not have its own bank accounts; rather, the funds raised from investors,
15   including Plaintiffs, were held by Allysian.
16        I. The “Theft” and Defendants’ Cover-Up.
17          99.          Upon information and belief, Defendants squandered and/or
18   misappropriated all or nearly all of the approximately $50 million raised through
19   the offer and sale of Hybrid Tokens.
20          100.        Rather than inform investors that their investments had been
21   squandered and/or misappropriated, Defendants claimed that on August 7-8, 2018,
22   Hybrid’s electronic wallets were breached and approximately 11,000 ETH in
23
     11
24       Hybrid (@HybridBlock HQ), Twitter (Apr. 29, 2018, 6:16                            P.M.),
     https://twitter.com/HybridBlockHQ/status/990761664273420288.
25   12
         Hybrid (@HybridBlock HQ), Twitter (May 20, 2018, 10:27                           A.M.),
26   https://twitter.com/HybridBlockHQ/status/998253848161595392.
     13
         Hybrid (@HybridBlock HQ), Twitter (May 23, 2018, 12:40                           A.M.),
27
     https://twitter.com/HybridBlockHQ/status/999193348660449280.
     14
28       Hybrid (@HybridBlock HQ), Twitter (Jun. 3, 2018, 11:15                           A.M.),
     https://twitter.com/HybridBlockHQ/status/1003339452683571201.

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1    cryptocurrency, worth approximately $4,400,000.00 at the time, was stolen (the
2    “Breach”).
3         101.    Defendants did nothing in response to the Breach. Indeed, Defendants
4    neither disclosed the breach to insiders or investors, nor took any affirmative action
5    to investigate the Breach or recover the approximately 11,000 ETH in
6    cryptocurrency purportedly stolen in the Breach.
7         102.    Ultimately, however, in or about September 2018, after Mr. Kang
8    made numerous inquiries concerning Hybrid’s business operations and plans,
9    Pugliese informed Mr. Kang of the Breach and insisted that Defendants take action.
10   At Mr. Kang’s insistence, Hybrid retained CipherBlade Ltd. (“CipherBlade”), an
11   electronic asset security firm, to investigate the Breach.
12        103.    On March 9, 2019, CipherBlade published a report entitled Blockchain
13   Analysis of HybridBlock Breached Funds (the “CipherBlade Report”).
14        104.    The CipherBlade Report highlights Defendants’ refusal to assist and
15   attempts to impede CipherBlade’s investigation of the Breach, including by (i)
16   failing to provide certain backup devices, (ii) failing to provide complete
17   screenshots, chat logs, and login histories of suspect accounts; and (iii) failing to
18   timely prepare and provide an incident report for the Breach, and belatedly
19   providing an incomplete and misleading incident report for the Breach.
20        105.    The CipherBlade Report further explained that Defendants (i) failed to
21   conduct appropriate General Data Protection Regulation (“GDPR”) actions in
22   response to the Breach, (ii) failed to notify investors of the Breach, (iii) failed to
23   notify law enforcement of the Breach,
24        106.    In addition, the CipherBlade Report noted that certain Hybrid
25   employees informed CipherBlade that, in reckless disregard of proper security
26   protocols, and in direct contradiction of its representation in the White Papers,
27   Hybrid stored approximately $20,000,000 of investor funds in TUSD, on a wallet
28   on a computer.


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1           107.   Finally, the CipherBlade reported noted that Hybrid had “very little to
2    show” for the approximately $50 million in investor funds raised.
3         J. The Final Product.
4           108.   In or about July 2018, Hybrid released a simulation of its platform at
5    www.hybex.net (“Hybex Net”).
6           109.   Shortly thereafter, Hybrid released www.hybex.io in full (“Hybex
7    IO”). Hybex IO was virtually indistinguishable from Hybex Net.
8           110.   A cursory review of the code underpinning Hybex IO revealed that,
9    contrary to Defendants’ representations that Hybrid was designing a new, novel,
10   and groundbreaking platform, Hybex IO was instead a so-called “white label
11   exchange” purchased from software company AlphaPoint.
12          111.   AlphaPoint describes itself thusly:    “AlphaPoint is a white-label
13   software company powering crypto exchanges worldwide. Through its secure,
14   scalable, and customizable distributed ledger platform, AlphaPoint enables
15   customers to launch and operate markets, as well as digitize assets. AlphaPoint and
16   its award winning blockchain technology have helped over 150 clients in 35
17   countries discover and execute their blockchain strategies since 2013.”15
18          112.   Upon information and belief, as Defendants had planned all along, in
19   or about May 2019, ADAX—a company created by Ohno, Jao, and potentially
20   others—acquired Hybrid in full or in part.
21          113.   On May 9, 2019, Defendants sent investors, including Plaintiffs, an
22   email stating “[w]e are extremely excited to announce that portions of
23   HybridBlock’s ecosystem have been acquired by Asia Digital Asset Exchange
24   (ADAX) - a fully licensed asset backed token issuance and exchange platform in
25   Asia” and advising investors, including Plaintiffs, that “BaseTrade, our fiat to
26   cryptocurrency platform, some of the HybridBlock team, and HybridBlock Token
27
     15
28             See         AlphaPoint,       LINKEDIN,                available         at
     https://www.linkedin.com/company/alpha-point/.

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1    (HYB) will all be integrated into ADAX in the coming months,” that “[o]nce
2    integration is complete, HybridBlock will discontinue separate exchange services,”
3    and that “ADAX is the new home for HybridBlock!”
4          114.   Upon information and belief, immediately thereafter, Defendants
5    began to Defendants began to deactivate, disable, and otherwise remove from
6    various websites, forums, chat rooms, and social media accounts any and all
7    evidence of Defendants’ involvement in Hybrid and the offer and sale of Hybrid
8    Tokens.
9          115.   Upon information and belief, Defendants, and each of them, misused,
10   squandered, and even claim to have lost by theft substantial portions of the monies
11   raised through their sale of Hybrid Tokens, and, to date, have yet to satisfy any of
12   the many commitments they made to investors described herein.
13         116.   In an effort to avoid regulatory scrutiny, when one United States-based
14   investor complained of Defendants’ conduct and threatened to initiate legal action,
15   Defendants offered that investor a full reimbursement of her investment.16
16                                FIRST CAUSE OF ACTION
17                       SALE OF UNREGISTERED SECURITIES
18                        Sections 5 and 12(a)(1) of the Securities Act
19                                       (Against Hybrid)
20         117.   Plaintiffs reallege and incorporate by reference each and every
21   allegation in the preceding paragraphs as if fully set forth herein.
22         118.   Section 5(a) of the Securities Act states:         “Unless a registration
23   statement is in effect as to a security, it shall be unlawful for any person, directly or
24   indirectly (1) to make use of any means or instruments of transportation or
25   communication in interstate commerce or of the mails to sell such security through
26

27   16
                   That           transaction        is         recorded        at
28   https://etherscan.io/tx/0x22ee3fd2961ff7a7f9e7e5d6ec2e2afdce052b5dc5bd9e3f73
     ef1f642138b28c.

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1    the use or medium of any prospectus or otherwise; or (2) to carry or cause to be
2    carried through the mails or in interstate commerce, by any means or instruments
3    of transportation, any such security for the purpose of sale or for delivery after sale.”
4    15 U.S.C. § 77e(a).
5          119.    Section 5(c) of the Securities Act states: “It shall be unlawful for any
6    person, directly or indirectly, to make use of any means or instruments of
7    transportation or communication in interstate commerce or of the mails to offer to
8    sell or offer to buy through the use or medium of any prospectus or otherwise any
9    security, unless a registration statement has been filed as to such security, or while
10   the registration statement is the subject of a refusal order or stop order or (prior to
11   the effective date of the registration statement) any public proceeding or
12   examination under section 77h of this title.” Id. § 77e(c).
13         120.    When issued, Hybrid Tokens were securities within the meaning of
14   Section 2(a)(1) of the Securities Act, 15 U.S.C. § 77b(a)(1). Defendants promoted,
15   solicited, or sold Hybrid Tokens to Plaintiffs and others. Defendants thus directly
16   or indirectly made use of means or instruments of transportation or communication
17   in interstate commerce or of the mails, to offer to sell or to sell securities, or to carry
18   or cause such securities to be carried through the mails or in interstate commerce
19   for the purpose of sale or for delivery after sale. No registration statements have
20   been filed with the SEC or have been in effect with respect to any of the offerings
21   alleged herein.
22         121.    Section 12(a)(1) of the Securities Act provides in relevant part: “Any
23   person who offers or sells a security in violation of section 77e of this title . . . shall
24   be liable, subject to subsection (b), to the person purchasing such security from him,
25   who may sue either at law or in equity in any court of competent jurisdiction, to
26   recover the consideration paid for such security with interest thereon, less the
27   amount of any income received thereon, upon the tender of such security, or for
28   damages if he no longer owns the security.” Id. § 77l(a)(1).


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1         122.    Accordingly, Defendants have violated Sections 5(a), 5(c), and
2    12(a)(1) of the Securities Act, id. §§ 77e(a), 77e(c), and 77l(a)(1).
3         123.    Plaintiffs seek rescissory damages and/or compensatory damages with
4    respect to purchases of Hybrid Tokens to the extent permitted by law.
5         124.    This claim is brought pursuant to Section 12(a)(1) of the Securities
6    Exchange Act of 1934, 15 U.S.C. § 771(a)(1).
7                                SECOND CAUSE OF ACTION
8                         SALE OF UNREGISTERED SECURITIES
9                Sections 5 and 12(a)(2) of the Securities Exchange Act of 1934
10                                       (Against Hybrid)
11        125.    Plaintiffs reallege and incorporate by reference each and every
12   allegation in the preceding paragraphs as if fully set forth herein.
13        126.    Section 12(a)(2) of the Securities Act provides in relevant part: “Any
14   person who offers or sells a security … by the use of any means or instruments of
15   transportation or communication in interstate commerce or of the mails, by means
16   of a prospectus or oral communication, which includes an untrue statement of a
17   material fact or omits to state a material fact necessary in order to make the
18   statements, in the light of the circumstances under which they were made, not
19   misleading (the purchaser not knowing of such untruth or omission), and who shall
20   not sustain the burden of proof that he did not know, and in the exercise of
21   reasonable care could not have known, of such untruth or omission, shall be liable,
22   subject to subsection (b), to the person purchasing such security from him, who may
23   sue either at law or in equity in any court of competent jurisdiction, to recover the
24   consideration paid for such security with interest thereon, less the amount of any
25   income received thereon, upon the tender of such security, or for damages if he no
26   longer owns the security” Id. § 77l(a)(2).
27        127.    When issued, Hybrid Tokens were securities within the meaning of
28   Section 2(a)(1) of the Securities Act, 15 U.S.C. § 77b(a)(1). Defendants offered,


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1    promoted, solicited, or sold purchases of Hybrid Tokens from Plaintiffs and others
2    by means of a prospectus. The prospectus consists of Defendants’ whitepapers
3    issued prior to their offer and sale of Hybrid Tokens.
4          128.   The statements included in the prospectus were false and/or omitted
5    material facts necessary in order to make the statements, in light of the
6    circumstances of which they were made, not misleading.
7          129.   This Count does not allege fraud. For the purposes of asserting this
8    claim, Plaintiffs do not allege that Defendants acted with intentional, reckless, or
9    otherwise fraudulent intent, except as to any statements of opinion or belief.
10         130.   Defendants directly or indirectly made use of means or instruments of
11   transportation or communication in interstate commerce or of the mails, to offer to
12   sell or to sell securities, or to carry or cause such securities to be carried through the
13   mails or in interstate commerce for the purpose of sale or for delivery after sale.
14         131.   Accordingly, Defendants violated Section 12(a)(2) of the Securities
15   Act, 15 U.S.C. § 77l(a)(2).
16         132.   Plaintiffs and the Class seek rescissory damages with respect to
17   purchases of Hybrid Tokens.
18                                 THIRD CAUSE OF ACTION
19                              CONTROL PERSON LIABILITY
20                                 Section 15 of the Securities Act
21                                     (Against Ohno and Jao)
22         133.   Plaintiffs reallege and incorporate by reference each and every
23   allegation in the preceding paragraphs as if fully set forth herein.
24         134.   This count is brought pursuant to Section 15 of the Securities Act.
25         135.   Due to their ownership interest in and control over Hybrid, Ohno and
26   Jao acted as controlling persons of Hybrid within the meaning of Section 15 of the
27   Securities Act. By virtue of their positions as Co-Founders of Hybrid and their
28   participation in and/or awareness of Hybrid’s operations, Ohno and Jao had the


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1    power to influence and control, and did influence and control, directly or indirectly,
2    the decision-making relating to the sale of Hybrid Tokens and the failure to register
3    these sales.
4          136.     By virtue of the foregoing, Ohno and Jao are liable to Plaintiffs as
5    control persons under Section 15 of the Securities Act.
6          137.     As such, Hybrid, Ohno, and Jao have participated in an unregistered
7    sale of securities in violation of the Securities Act and are liable to Plaintiffs for
8    rescission and/or compensatory damages.
9                                FOURTH CAUSE OF ACTION
10                                    SECURITIES FRAUD
11            Section 17(a) of the Securities Act, Section 10(b) of the Exchange Act,
12                                   and SEC Rule 10b-5
13                                   (Against All Defendants)
14         138.     Plaintiffs reallege and incorporate by reference each and every
15   allegation in the preceding paragraphs as if fully set forth herein.
16         139.     Between approximately January 2018 and June 6, 2018, Defendants
17   offered and sold approximately $50 million worth of securities to investors based
18   around the world, including Plaintiffs.
19         140.     In connection with the aforementioned sales, Defendants made
20   statements (a) that were false representations of material facts to Plaintiffs, (b) that
21   Defendants knew to be false or were made recklessly and without regard for their
22   truth, (c) that Defendants intended Plaintiffs to rely upon, (d) that Plaintiffs did
23   reasonably rely upon, (e) that Plaintiffs’ reliance upon was a substantial factor in
24   causing damage to Plaintiffs, and (f) that caused damages to Plaintiffs as described
25   above.
26         141.     Defendants misrepresented, among other things, the nature and
27   development of Hybrid’s platform and the use and disposition of investor funds.
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1          142.     Defendants violated Section 10(b) of the Exchange Act and Rule 10b-
2    5 in that they:
3          (viii) Employed devices, schemes, and artifices to defraud;
4          (ix)     Made untrue statements of material facts or omitted to state material
5    facts necessary in order to make the statements made, in light of the circumstances
6    under which they were made, not misleading; or
7          (x)      Engaged in acts, practices, and a course of business that operates as a
8    fraud or deceit upon plaintiff and others similarly situated in connection with their
9    purchases of Hybrid Tokens between approximately January 2018 and June 6,
10   2018.
11         143.     Plaintiffs   and   others   did   justifiably   rely    on   Defendants’
12   misrepresentations to Plaintiffs and others that they could and would satisfy these
13   obligations.
14         144.     By justifiably relying on Defendants’ misrepresentations, Plaintiffs
15   and others have been damaged.
16                                 FIFTH CAUSE OF ACTION
17                               CONTROL PERSON LIABILITY
18                               Section 20(a) of the Exchange Act
19                                     (Against Ohno and Jao)
20         145.     Plaintiffs reallege and incorporate by reference each and every
21   allegation in the preceding paragraphs as if fully set forth herein.
22         146.     This count is brought pursuant to Section 20(a) of the Exchange Act.
23         147.     Due to their ownership interest in and control over Hybrid, Ohno and
24   Jao acted as controlling persons of Hybrid within the meaning of Section 20(a) of
25   the Exchange Act. By virtue of their positions as Co-Founders of Hybrid and their
26   participation in and/or awareness of Hybrid’s operations, Ohno and Jao had the
27   power to influence and control, and did influence and control, directly or indirectly,
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1    the decision-making relating to the sale of Hybrid Tokens and the material
2    misstatements and omissions made in connection therewith.
3          148.     By virtue of the foregoing, Ohno and Jao are liable to Plaintiffs as
4    control persons under Section 20(a) of the Exchange Act.
5                                      SIXTH CAUSE OF ACTION
6                           INTENTIONAL MISREPRESENTATION
7                                       (Against All Defendants)
8          149.     Plaintiffs reallege and incorporate by reference each and every
9    allegation in the preceding paragraphs as if fully set forth herein.
10         150.     Defendants made statements (a) that were false representations of
11   material facts to Plaintiffs, (b) that Defendants knew to be false or were made
12   recklessly and without regard for their truth, (c) that Defendants intended Plaintiffs
13   to rely upon, (d) that Plaintiffs did reasonably rely upon, (e) that Plaintiffs’ reliance
14   upon was a substantial factor in causing damage to Plaintiffs, and (f) that caused
15   damages to Plaintiffs as described above.
16         151.     Defendants misrepresented, among other things, the nature and
17   development of Hybrid’s platform and the use and disposition of investor funds.
18         152.     Defendants knew or should have known that they could not and would
19   not satisfy their obligations relating to the nature and development of Hybrid’s
20   platform and the use and disposition of investor funds.
21         153.     Defendants represented to Plaintiffs and others that they could and
22   would satisfy these obligations.
23         154.     Plaintiffs   and    others   did   justifiably   rely   on   Defendants’
24   misrepresentations to Plaintiffs and others that they could and would satisfy these
25   obligations.
26         155.     By justifiably relying on Defendants’ misrepresentations, Plaintiffs
27   and others have been damaged.
28   ///


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1                                  SEVENTH CAUSE OF ACTION
2                                NEGLIGENT MISREPRESENTATION
3                                        (Against All Defendants)
4          156.     Plaintiffs reallege and incorporate by reference each and every
5    allegation in the preceding paragraphs as if fully set forth herein.
6          157.     Defendants made statements (a) that were false representations of
7    material facts to Plaintiffs, (b) that Defendants knew to be false or were made
8    recklessly and without regard for their truth, (c) that Defendants intended Plaintiffs
9    to rely upon, (d) that Plaintiffs did reasonably rely upon, (e) that Plaintiffs’ reliance
10   upon was a substantial factor in causing damage to Plaintiffs, and (f) that caused
11   damages to Plaintiffs as described above.
12   ///
13         158.     Defendants misrepresented, among other things, the nature and
14   development of Hybrid’s platform and the use and disposition of investor funds.
15         159.     Defendants knew or should have known that they could not and would
16   not satisfy these obligations.
17         160.     Defendants represented to Plaintiffs and others that they could and
18   would satisfy these obligations.
19         161.     Plaintiffs    and    others   did   justifiably   rely   on   Defendants’
20   misrepresentations to Plaintiffs and others that they could and would satisfy these
21   obligations.
22         162.     By justifiably relying on Defendants’ misrepresentations, Plaintiffs
23   and others have been damaged.
24                                  EIGHTH CAUSE OF ACTION
25                                      BREACH OF CONTRACT
26                                       (Against All Defendants)
27         163.     Plaintiffs reallege and incorporate by reference each and every
28   allegation in the preceding paragraphs as if fully set forth herein.


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1          164.   Plaintiffs and Defendants entered into a contract, the terms of which
2    are evidenced by the White Papers.
3          165.   Plaintiffs performed all of the things required of them, namely, making
4    payments of U.S. Dollars and digital currencies.
5          166.   Defendants failed to perform, and were not excused from performing,
6    all or substantially all of the things required of them.
7          167.   As a result of Defendants’ failure to perform, Plaintiffs have been
8    harmed.
9          168.   Defendants’ failure to perform was a substantial factor in causing
10   Plaintiffs’ harm.
11                                 NINTH CAUSE OF ACTION
12                         BREACH OF IMPLIED COVENANT OF
13                             GOOD FAITH & FAIR DEALING
14                                    (Against All Defendants)
15         169.   Plaintiffs reallege and incorporate by reference each and every
16   allegation in the preceding paragraphs as if fully set forth herein.
17         170.   Plaintiffs and Defendants entered into a contract, the terms of which
18   are evidenced by the White Papers.
19         171.   Plaintiffs performed all of the things required of them, namely, making
20   payments of U.S. Dollars and digital currencies.
21         172.   Defendants failed to perform, and were not excused from performing,
22   all or substantially all of the things required of them.
23         173.   By failing to perform, Defendants did not act fairly and in good faith.
24         174.   As a result of Defendants’ conduct, Plaintiffs have been harmed.
25         175.   Defendants’ conduct was a substantial factor in causing Plaintiffs’
26   harm.
27   ///
28   ///


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1                                  TENTH CAUSE OF ACTION
2                                MONEY HAD AND RECEIVED
3                                     (Against All Defendants)
4          176.   Plaintiffs reallege and incorporate by reference each and every
5    allegation in the preceding paragraphs as if fully set forth herein
6          177.   Defendants received money from Plaintiffs that was intended to be
7    used for the benefit of Hybrid and the Hybrid investors, including Plaintiffs.
8          178.   Defendants did not use the money for the benefit of Hybrid and the
9    Hybrid investors, including Plaintiffs
10         179.   Defendants have not returned to Plaintiffs any of the money they
11   received from Plaintiffs that was intended to be used for the benefit of Hybrid and
12   the Hybrid investors, including Plaintiffs, despite not so using the money.
13         180.   Plaintiffs seek compensatory and punitive damages.
14                              ELEVENTH CAUSE OF ACTION
15                                    PROMISSORY FRAUD
16                                    (Against All Defendants)
17         181.   Plaintiffs reallege and incorporate by reference each and every
18   allegation in the preceding paragraphs as if fully set forth herein.
19         182.   Defendants made promises (a) that were false representations of
20   material facts to Plaintiffs, (b) that Defendants knew to be false or were made
21   recklessly and without regard for their truth, (c) that Defendants intended Plaintiffs
22   to rely upon, (d) that Plaintiffs did reasonably rely upon, (e) that Plaintiffs’ reliance
23   upon was a substantial factor in causing damage to Plaintiffs, and (f) that caused
24   damages to Plaintiffs as described above.
25   ///
26   ///
27   ///
28   ///


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1                               TWELFTH CAUSE OF ACTION
2                                   UNJUST ENRICHMENT
3                                    (Against All Defendants)
4         183.    Plaintiffs reallege and incorporate by reference each and every
5    allegation in the preceding paragraphs as if fully set forth herein.
6         184.    Defendants have wrongfully received and are withholding property
7    and profits which rightfully belong to Plaintiffs.
8         185.    Defendants have not filed any accounting to account for and/or pay to
9    Plaintiff the value of the property and profits derived therefrom.
10        186.    As a result of Defendants’ unlawful acts and omissions, Defendants
11   have been unjustly enriched to Plaintiffs’ detriment.
12        187.    Plaintiffs therefore demand restitution and judgment against
13   Defendants in an amount to be determined at trial, together with interest, attorneys’
14   fees, and costs.
15                            THIRTEENTH CAUSE OF ACTION
16                              FRAUDULENT CONVEYANCE
17                                   (Against All Defendants)
18        188.    Plaintiffs reallege and incorporate by reference each and every
19   allegation in the preceding paragraphs as if fully set forth herein.
20        189.    Pursuant to California’s Uniform Fraudulent Transfer Act, Civil Code
21   §§ 3409.04, et seq., Plaintiffs are informed and believe, and thereon allege, that
22   Defendants, directly or indirectly, transferred, or caused to be transferred, certain
23   funds raised from Plaintiffs’ purchase of Hybrid Tokens from Hybrid to Allysian
24   with the purpose of frustrating, hindering, delaying, or defrauding Plaintiffs.
25   Accordingly, such conveyances to Allysian should be set aside.
26        190.    To the extent any funds raised from Plaintiffs are still held or
27   controlled by Defendants, a constructive trust should be placed on such funds, the
28   conveyance of such funds should be declared null and void, and such funds should


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1    be paid over and returned to Plaintiffs, or, in the alternative, Defendants should be
2    liable to Plaintiffs in an amount to be established at trial, subject to proof, but in an
3    amount no less than $1,500,000.00.
4          191.   Plaintiffs are informed and believe, and thereon allege, that in
5    performing the acts described above, Defendants acted willfully, maliciously,
6    oppressively, and fraudulently, and with full knowledge of the probable
7    consequences and damages to be sustained by Plaintiffs and with the intent to
8    deprive Plaintiffs of their property and legal rights, entitling Plaintiffs to an award
9    of punitive or exemplary damages in a sum sufficient to punish Defendants for said
10   fraudulent conduct.
11                            FOURTEENTH CAUSE OF ACTION
12                                   UNFAIR COMPETITION
13                                    (Against All Defendants)
14         192.   Plaintiffs reallege and incorporate by reference each and every
15   allegation in the preceding paragraphs as if fully set forth herein.
16         193.   At all relevant times, California’s Unfair Competition Law, California
17   Business and Professions Code §§ 17200, et seq. (the “UCL”) was in effect.
18         194.   The UCL prohibits “any unlawful, unfair or fraudulent business act or
19   practice and unfair, deceptive, untrue or misleading advertising. . . .”
20         195.   As described herein, Defendants’ offer and sale of Hybrid Tokens was
21   unlawful, unfair, and fraudulent.
22         196.   As described herein, in connection with Defendants’ offer and sale of
23   Hybrid Tokens, Defendants’ employed and relied upon unfair, deceptive, untrue,
24   and misleading advertising.
25         197.   As a result of Defendants’ unlawful, unfair, and fraudulent actions, and
26   unfair, deceptive, untrue, and misleading advertising, Plaintiffs have been harmed,
27   including by being denied the products and services promised in the White Papers.
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1           198.   Plaintiffs would not have invested in Hybrid or purchased Hybrid
2    Tokens, or would have invested in Hybrid and/or purchased Hybrid Tokens on
3    different terms, if they know the truth.
4                              FIFTEENTH CAUSE OF ACTION
5                                         ACCOUNTING
6                                    (Against All Defendants)
7           199.   Plaintiffs reallege and incorporate by reference each and every
8    allegation in the preceding paragraphs as if fully set forth herein.
9           200.   Defendants have never accounted for the funds received by them or
10   their agents, assigns, predecessors, and successors, which were and continue to be
11   wrongfully taken from Plaintiffs.
12          201.   As a result of Defendants’ wrongful taking of Plaintiffs’ property,
13   Plaintiffs have been unable to use or invest that property.
14          202.   As a result of Defendants’ unlawful acts and omissions, Plaintiffs have
15   been injured and damaged and demand the equitable remedy of accounting.
16                                   PRAYER FOR RELIEF
17          WHEREFORE, Plaintiffs pray that judgment be entered for the following:
18          203.   That the Court enter an order declaring that Defendants’ actions, as set
19   forth in this Complaint, violate the federal and state laws set forth above;
20          204.   That the Court award Plaintiffs damages in an amount to be determined
21   at trial;
22          205.   That the Court issue appropriate equitable and any other relief against
23   Defendants to which Plaintiffs are entitled;
24          206.   That the Court award Plaintiffs pre- and post-judgment interest
25   (including pursuant to statutory rates of interest set under State law);
26          207.   That the Court award Plaintiffs their reasonable attorneys’ fees and
27   costs of suit; and
28   ///


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1         208.   That the Court award any and all such relief as the Court may deem
2    just and proper under the circumstances.
3                               DEMAND FOR JURY TRIAL
4         209.   A jury trial is demanded pursuant to Fed. R. Civ. P. 38.
5

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     Dated: August 13, 2021          NOVIAN & NOVIAN LLP

8                                    By: /s/ Alexander Brendon Gura
9
                                     FARHAD NOVIAN
                                     ALEXANDER BRENDON GURA
10

11
                                     Attorneys for Plaintiffs

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